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                   EXHIBIT D
                Case 1:20-cv-01702-WMR Document 38-4 Filed 02/16/21 Page 2 of 4




From:                             Bowler, John M. <john.bowler@troutman.com>
Sent:                             Monday, January 4, 2021 4:15 PM
To:                               Joseph Sharp
Cc:                               Hobbs, Michael D.; Henner, Lindsay Mitchell
Subject:                          RE: Keenan's Kids Foundation v. Claggett


 EXTERNAL EMAIL         john.bowler@troutman.com

Joe,

As you know, there is no requirement under the discovery rules to provide a written response to a discovery
letter. And, as a general rule, such back-and-forth correspondence is not considered without leave of court
when discovery matters are before the district court for its consideration.

We don’t plan to respond to your discovery letter with a point by point letter. Rather, as I offered earlier, we
are prepared to discuss all the points raised in your letter on a mutual meet and confer call. If the dates
previously offered for next week are not workable for you, we can make ourselves available to you for a call as
early as this Friday. In the meantime, we plan to identify the deficiencies in your client’s written discovery
responses by this Wednesday.


John M. Bowler
Partner
troutman pepper
Direct: 404.885.3190 | Internal: 11-3190
john.bowler@troutman.com

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From: Joseph Sharp <JSharp@Polsinelli.com>
Sent: Wednesday, December 30, 2020 12:54 PM
To: Bowler, John M. <john.bowler@troutman.com>
Cc: Hobbs, Michael D. <michael.hobbs@troutman.com>; Henner, Lindsay Mitchell <Lindsay.henner@troutman.com>
Subject: RE: Keenan's Kids Foundation v. Claggett

EXTERNAL SENDER

John: Although we appreciate the update, the case needs to move forward. To that end, we request that you provide a
substantive response to our December 21, 2020 letter on or before Monday, January 4, 2021, which affords Plaintiff
more than sufficient time to address the issues raised in our letter.

As to a discovery conference, until we receive a substantive response, we will not know whether such a conference is
necessary or appropriate. However, if necessary, I will be available shortly after receiving a substantive response.
We will produce documents next week. Given that we have agreed to the protective order, we request that Plaintiff
begin its production by January 8, 2021.
Mr. Claggett is available the week of February 8, 2021 for his deposition.

Joe
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Joseph Sharp
Shareholder

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"Tier One: Nationally ranked for Commercial Litigation,
U.S.News and World Report's 2021 'Best Law Firms'"




Polsinelli PC, Polsinelli LLP in California

polsinelli.com


From: Bowler, John M. <john.bowler@troutman.com>
Sent: Tuesday, December 29, 2020 4:58 PM
To: Joseph Sharp <JSharp@Polsinelli.com>
Cc: Hobbs, Michael D. <michael.hobbs@troutman.com>; Henner, Lindsay Mitchell <Lindsay.henner@troutman.com>
Subject: Keenan's Kids Foundation v. Claggett

 EXTERNAL EMAIL                    john.bowler@troutman.com

Joe,

Sorry for the delayed acknowledgment of your email. We’re in receipt of your discovery letter sent during
Christmas week, asking for a response today.

We’re reviewing your letter and will respond in due course. In the meantime, we’ve yet to receive any
response to our client’s request of November 18 as to what date we will receive Mr. Claggett’s document
production and a date thereafter when he will make himself available for a deposition. There are also some
deficiencies with Mr. Claggett’s responses to written discovery which we will identify in the coming days.

Let’s set a mutual meet and confer on all issues for the week of January 11. January 13 looks good other than
3PM-4:30PM. So does the morning of January 14.

Also, your edits to the protective order are acceptable. We will file the protective order with the court.


John M. Bowler
Partner
Direct: 404.885.3190 | Internal: 11-3190
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────────────
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